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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                          Plaintiff,
                                                             Civil Action No. 2:15-cv-998
                     v.
                                                             JURY TRIAL DEMANDED
  NVIDIA CORPORATION,

                          Defendant.


                                   JOINT MOTION TO DISMISS
                Pursuant to Fed. R. Civ. P. 41(a), Plaintiff, Display Technologies, LLC (“Plaintiff”)

 and Defendant Valve Corporation (“Defendant”) file this Joint Motion to Dismiss Without

 Prejudice under Fed. R. Civ. P. 41(a) and (c). The parties have been and are actively negotiating

 a settlement agreement. While a settlement agreement has not yet been fully executed, the parties

 are close to having an agreement finalized and wish to dismiss this case without prejudice at this

 time. In light of this, Plaintiffs and Defendant jointly move that this Court enter an order:

        1.      dismissing all of Plaintiffs’ claims against Defendant without prejudice, and all of

 Defendant’s counterclaims against Plaintiffs without prejudice;


        2.      with each party to bear their own attorneys' fees and costs incurred in connection

 with this action;

        3.      reserving the right of the parties to move for an order dismissing all of Plaintiffs’


 claims against Defendant with prejudice once the settlement agreement is executed by all parties;

 and
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         DATED January 13, 2016.                       Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of January, 2016, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
 Division, using the electronic case filing system of the court. The electronic case filing system
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 sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
 accept this Notice as service of this document by electronic means.

                                             /s/ Stevenson Moore
                                                Stevenson Moore
